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                            UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUETTES

 IN RE:                                                       Case No. 20-10325-JEB
                                                              Chapter 13
 RICHARD PACIFICO
 Debtor
STIPULATION REGARDING U.S. Bank National Association, not in its individual capacity
    but solely as trustee for the RMAC Trust, Series 2016-CT MOTION FOR RELIEF
                   (14 -16 PLEASANT ST U16A, BEVERLY, MA 01915)

         Now comes U.S. Bank National Association, not in its individual capacity but solely as
trustee for the RMAC Trust, Series 2016-CT and the Richard Pacifico (“Debtor”), who stipulate as
follows:

1.     The total post-petition arrearage as of January 1, 2023 is $3,70151. This consists of the
       following post-petition payments and charges:


          Payment                             3 @ $1,299.01                $3,897.03

                                                                               $0.00
          Legal Fees and Costs
          Suspense                                                         ($195.52)
                                                 Total Amount Due          $3,701.51



2.     On or before April 1, 2023 and by the 15th of each month thereafter, through September 1,
       2023, the Debtors shall make payments as set forth below to cure the post-petition arrearage
       due on the claim:

                                Stipulation Payment Schedule
              Payment       Monthly Payment      Monthly             Total Monthly
              Number           Amount           Arrearage              Payment
            (or due date)                        Amount
                4/1/23         $1,299.01         $616.92                $2,090.93

               5/1/23             $1,299.01          $616.91            $2,090.93

               6/1/23             $1,299.01          $616.91            $2,090.93

               7/1/23             $1,299.01          $616.91            $2,090.93

               8/1/23             $1,299.01          $616.91            $2,090.93

               9/1/23             $1,299.01          $616.91            $2,090.92
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         *If the Debtors receive notice of a change in the regular monthly payment during the
         terms of the stipulation, the Debtors shall make the appropriate adjustment to the
         total monthly amount due. The monthly arrearage amount will not change.

3.       Commencing on August 1, 2023, and monthly thereafter, the Debtors shall make the regular
         monthly post-petition payments in the amount of $1,299.01, subject to change pursuant to the
         terms of the Note and Mortgage.

     All payments under this stipulation should be made payable to the servicer Rushmore Loan
                  Management Services LLC, and sent to the following address:

                        Rushmore Loan Management Services LLC
                              15480 Laguna Canyon Road
                                       Suite 100
                                  Irvine, CA 92618
                                           .
4.       IF THE DEBTORS FAIL TO MAKE SAID PAYMENTS BY THE DATES
         SPECIFIED IN PARAGRAPH TWO AND/OR THREE OF THIS STIPULATION,
         RELIEF FROM STAY MAY BE GRANTED WITHOUT HEARING BY THE
         COURT UPON CREDITOR FILING A CERTIFICATE OF NON-COMPLIANCE.
         A $200.00 FEE SHALL BE CHARGED FOR EACH CERTIFICATE OF NON-
         COMPLIANCE NEEDED THROUGHOUT THE LIFE OF THIS STIPULATION
         AGREEMENT. THE DEBTORS HAVE THE RIGHT TO OBJECT TO THE
         CERTIFICATE OF NON-COMPLIANCE ONLY ON THE BASIS THAT THE
         PAYMENTS WERE MADE TIMELY UNDER THE STIPULATION.

5.       The Creditor will file an amended proof of claim to account for adjusted pre-petition
         payment amounts.

6.       The terms of this stipulation shall be null and void if the case is converted or dismissed.

Agreed to on this               March 2023.
                      24day of January,
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 Respectfully submitted,
 U.S. Bank National Association, not in its
 individual capacity but solely as trustee for the
 RMAC***
 By its Attorney                                     Richard Pacifico
                                                                     y
                                                     By their attorney,
  /s/Richard T. Mulligan
 Richard T. Mulligan                                 _________________________
                                                     _____
                                                        _ _______________
                                                                    __
 B.B.O. # 567602                                     Peter M.
                                                     P     M Daigle
                                                              D i l
 The Movant’s Attorney                               Daigle Law Office
 Bendett & McHugh, P.C.                              1550 Falmouth Road, Suite 10
 270 Farmington Avenue, Suite 151                    Centerville MA 02632
 Farmington, CT 06032
 Phone (860) 677-2868
 Fax (860) 409-0626
 Email: BKECF@bmpc-law.com



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                             UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUETTES

 IN RE:                                                          Case No. 20-10325-JEB

 RICHARD PACIFICO                                                Chapter 13
 Debtor

                                    CERTIFICATE OF SERVICE
                                                March 24, 2023
        I, Richard T. Mulligan, state that on _______________, I electronically filed the foregoing
document with the United States Bankruptcy Court for the District of Massachuettes on behalf of
U.S. Bank National Association, not in its individual capacity but solely as trustee for the
RMAC*** using the CM/ECF System. I served the foregoing document on the following CM/ECF
participants:

Office of the US Trustee
Peter M. Daigle
Carolyn Bankowski


I certify that I have mailed by first class mail, postage prepaid, the documents electronically filed with
the Court on the following non CM/ECF participants:

Richard Pacifico
16 Pleasant Street, Unit A
Beverly, MA 01915



                                                   Respectfully submitted,
                                                   U.S. Bank National Association, not in its individual
                                                   capacity but solely as trustee for the RMAC***
                                                   By its Attorney
                                                     /s/Richard T. Mulligan

                                                   Richard T. Mulligan
                                                   B.B.O. # 567602
                                                   The Movant’s Attorney
                                                   Bendett & McHugh, P.C.
                                                   270 Farmington Avenue, Suite 151
                                                   Farmington, CT 06032
                                                   Phone (860) 677-2868
                                                   Fax (860) 409-0626
                                                   Email: BKECF@bmpc-law.com

Dated:    3/24/23
